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U.S. Patent            Dec.5,2000        Sheet 11 of 13            6,156,528

                            Vi able Cell Number
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              120
              100                                      Exisulind
      -u
      0
      .....
      C:
      0
              80

      ~
              60
     0
              40
              20                             Sulfide

               0
                 15        30           60             120         240
                                Dose {µ.M)

                             FIG. 11



              80

              70

              60
                      S. Sulfoxide
               50

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      -+-
      ..c      30
      .c
         C:
               20
      ~
      0
               10

                00    0.01    0.1       1
                         Concentration (µ.M)
                             FIG. 14
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            25
  (..0
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            20                            -o-       Vehicle

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      E     15
                                               •    Sulindac Sulfide

      :J
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                 4    24                 48                72             96
                            Treatment    time (h)

                                    FIG. 12A
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            80

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                                          -o-       Vehicle
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   1/)
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                                               •    Sulindac Sulfide

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  0         20

            10

             0
                 4    24                  48                  72           96
                           Treatment    time (h )

                                    FIG. 12B
                                                                    U.S. Patent           Dec. 5, 2000          Sheet 13 of 13       6,156,528
                                                                       .------------------n-------~o
                                                                                                                                     -
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                                                          6,156,528
                               1                                                                      2
            METHODS FOR USING A                                         overstated. If those two phenomena were related, there
           PHOSPHODIESTERASE IN                                         would be little hope for a safe NSAJD therapy for FAP
       PHARMACEUTICAL SCREENlNG TO                                      patients because the side effects ot: N~~_Ds, such as gast_ric
    IDENTIFY COMPOUNDS FOR TREATMENT                                     irritation, are also caused by COX inhibition. Prostaglandins
               OFNEOPLASlA                                         5    play a protective function in the lining of the stomach. When
                                                                        NSAJDs are administered, COX is inhibited and PG levels
   This application is a cootiouatioo of serial number                  are reduced: gastric irritation is a common result. Those side
08/866,027 filed May 30, 1997 which is now U.S. Pat. No.                effects may not manifest themselves in short-term (acute)
5,858,694.                                                              NSAJD therapy. However, during long-term (chronic)
                                                                  10    NSAJD therapy, gastric irritation, bleeding and ulceration
          BACKGROUND OF THE INVENTION                                   are very common. Jo significant numbers of cases, NSAID
                                                                        therapy must be slopped due to the severity of those side
     This invention provides a method for identifying com-
                                                                        effects and other potentially lethal side effects. Furthermore,
  pounds potentially useful for the treatment and prevention of
                                                                        the severity of such side effects increases with age, probably
 pre-cancerous and cancerous lesions io mam~al_s. This
                                                                  15    because natural PG levels in gastric mucosa falls with age.
  application is a continuation of U.S. patent application Ser.
                                                                        Thus, useful compounds for treating neoplastic lesions
  No. 08/866,027 to Piazza et al. Filed May 30, 1997.
                                                                        should desirably inhibit neoplastic cell growth, but should
     Familial adenornatous polyposis ("FAP") is ao inherited            DOI inhibit COX.
 disease where the victim's colon contains many polyps or
                                                                             Conventional methods for screening compounds may be
 adenomas virtually uncountable io most instances. Because
                                                                  20    used to find improved compounds that inhibit neoplastic cell
 such patients develop so many polyps or adenomas each of
                                                                        growth. Under this scenario, drugs may be screened using in
 which has a significant risk of developing into a cancer-the
                                                                        vitro models. But conventional in vitro screening methods
  typical treatment is surgical removal of the colon_. Io abo~t
                                                                       could pass many compounds that later are shown to be
  1983, Waddell discovered that the nonsteroidal anu-
                                                                        ineffective in animal models because of a number of unan-
 inflammatory drug ("NSAID") suliodac would cause
                                                                  25    ticipated problems, one of wbicb may be that the in vitro
 colonic polyps (a type of pre-cancerous lesion) to regress
                                                                       screen is not predictive of efficacy. Animal model studies are
 and prevent their recurrence when that drug was admin~s-
                                                                        time consuming and expensive. Therefore, a more precise in
 tered to patients with FAP. Waddell's expeneoce with sulin-
                                                                       vitro screening method that provides predictive information
 dac in FAP patients was confirmed in several subsequent
                                                                       for treating neoplasia is needed to screen compounds prior
 studies. Unfortunately, since sulindac and other NSAIDS               to human testing. Knowledge of a specific target for inhib-
                                                                  30
 aggravate the digestive tract (not to mention side effects
                                                                       iting human cancer would allow for greater precision and
 involving kidney and interference with normal blood
                                                                       efficiency whereby highly effective and safe compounds can
 dolling) of patients to whom it bas been chronically
                                                                       be identified prior to animal testing.
 administered, it is not a practical treatment for FAP or any
                                                                            Presently, rational drug discovery methods are being
 other cancer or precancerous indication (i.e., neoplasia)
                                                                  35   applied in the pharmaceutical industry to improve methods
 requiring long-term administration.
                                                                       for identifying clinically useful compounds. Typically, ratio-
    Waddell originally hypothesized that the mechanism of              nal drug discovery methods relate to a "lock and key"
 action of sulindac on colonic polyps involved the inhibition          concept whereby structural relationships between a thera-
 of the synthesis of prostaglaodio (PG). (Waddell, W. R. et            peutic target molecule (lock) and pharmaceutical com-
 al., "Sulindac for Polyposis of the Colon," Journal of           40   pounds (key) are defined. Such methods are greatly
Surgical Oncology, 24:83-87, 1983). Prostaglaodio ("PG")               eobaoced by specialty computer software that accesses
synthesis inhibition results from the inhibition of cyclooxy-          databases of compounds to identify likely geometric fits
geoase (COX) caused by NSA!Ds. A common benefit of                     with the target molecule. Unfortunately, to use these
 NSA!Ds is the reduction of inflammation, wbicb is known               systems, one bas to have insight to the target molecule
 to be caused by the reduction of PG levels. Since NSA!Ds         45   (lock). The target may be an enzyme, a protein, a membrane
 are koowo to inhibit COX, which inhibits PG synthesis, it is          or nuclear receptor, or a nucleic acid sequence, for example.
widely believed that the regression of colonic polyps is
                                                                            In complex diseases, such as oeoplasia, scientists have
attributed to this property. In fact, notwithstanding recent
                                                                       identified a number of potential targets. However, many of
discoveries to the contrary, it bas become conventional
                                                                       the drugs available for the treatment of oeoplasia are non-
wisdom that administration of ao inhibitor of PG synthesis        50   specific and toxic to normal tissues, and are not indicated for
( e.g., ao NSAID) to a patient with FAP or other precaocer~us
                                                                       precaocer and used only wbeo neoplastic cells progress to
or cancerous lesion will result in the regression of the lesion
                                                                       cancer. Greater understanding of the mechanisms involved
due to a reduction of PG levels.
                                                                       in cancer may lead scientists oo the path towards designing
    Recent discoveries, however, are leading scientists in a           more specific aotineoplastic drugs=-drugs that can safely be
completely different direction-that it is not necessary to        55
                                                                       administered earlier in the disease process.
inhibit COX to treat oeoplasia patients successfully. Pam-
ukcu et al., io U.S. Pat. No. 5,401,774, disclosed that                            SUMMARY OF TIIE INVENTION
sulfooyl compounds, that were previously reported to be                   This invention relates to a novel in vitro method for
inactive as PG synthesis inhibitors (aod therefore not an              screening test compounds for their ability to treat and
NSAID or an anti-inflammatory compound) unexpectedly              60   prevent oeoplasia, especially pre-cancerous lesions, safely.
inhibited the growth of a variety of neoplastic cells, includ-         Io particular, the present invention provides a method for
ing colon polyp cells. These sulfonyl derivatives have                 identifying test compounds that can be used to treat and
proven effective in rat models of colon carcinogenesis, and            prevent oeoplasia, including precancerous lesions, with
one variant (now referred to as exisulind) has proven ~ffec-           minimal side effects associated with COX inhibition and
tive in preliminary human clinical trials with FAP patients.      65   other non-specific interactions.
    The importance of this discovery-and the de-linking of                Io one embodiment of this invention, therefore, the
anti-neoplasitic activity and COX iohibitioo--canoot be                screening method involves determining the COX inhibition
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acuvuy of a test compound. Because the inventors have                   number of different factors. One factor is bow rapidly cells
discovered a relationship between inhibition of cancer and              proliferate, and another involves bow rapidly cells die. Cells
inhibition of phosphodiesterase Type-5 isoeozyme                        can die either by necrosis or apoptosis depending on the type
("PDE5"), this invention includes determining the PDE5                  of environmental stimuli. Cell differentiation is yet another
inhibition activity of the compound. Preferably, the screen-       5    factor that influences tumor growth kinetics. Resolving
ing method of this invention further includes determining               which of the many aspects of cell growth is affected by a test
whether the compounds inhibit the growth of tumor cells in              compound is important to the discovery of a relevant target
a cell culture.                                                         for pharmaceutical therapy. Screening assays based on this
   In an alternate embodiment, the screening method of this             selectivity can be combined with tests to determine which
invention involves determining the COX inhibition activity         10   compounds having growth inhibiting activity.
of the compound, determining the PDE5 inhibition activity                   This invention is the product of several important discov-
of the compound and determining whether the compound                    eries. First, the present inventors discovered that desirable
induces apoptosis in tumor cells.                                       inhibitors of tumor cell growth induce premature death of
   By screening compounds in this fashion, potentially ben-             cancer cells by apoptosis (see, Piazza, G. A., et al., Cancer
eficial and improved compounds can be identified more              15   Research, 55(14), 3110-16, 1995). Second, the present
rapidly and with greater precision than possible in the past.           inventors unexpectedly discovered that compounds that
Further benefits will be apparent from the detailed descrip-            selectively induce apoptosis without substantial COX inhi-
tion that follows.                                                      bition also inhibit phosphodiesterase ("PDE"). In particular,
                                                                        and contrary to leading scientific studies, desirable com-
      BRIEF DESCRIPTION OF THE DRAWINGS                            20   pounds for treating neoplastic lesions selectively inhibit
                                                                        Type 5 isoenzyme form of phosphodiesterase ("PDE5") (EC
   FIG. 1 illustrates the effect of the sulfide derivative of           3.1.4.17). PDE5 is one of at least seven isoenzymes of
sulindac and the sulfone derivative of sulindac ( a.k.a.                phosphodiesterase. PDE5 is unique in that it selectively
exisulind) on purified cyclooxygenase activity.                         degrades cyclic GMP, while the other types of PDE are
   FIG. 2 illustrates the effects of test compounds B and Eon      25   either non-selective or degrade cyclic AMP. Preferably,
COX inhibition.                                                         desirable compounds do not substantially inhibit other phos-
   FIG. 3 illustrates the inhibitory effects of sulindac sulfide        phodiesterase types.
and exisulind on PDE-4 and PDE5 purified from cultured                      A preferred embodiment of the present invention involves
tumor cells.                                                            determining the cyclooxygenase inhibition activity of a
                                                                   30
   FIG. 4 illustrates the effects of sulindac sulfide on cyclic         given compound, and determining the PDE5 inhibition
nucleotide levels in HT-29 cells.                                       activity of the compound. The test compounds are scored for
   FIG. 5 illustrates the phosphodiesterase inhibitory activity         their probable ability to treat neoplastic lesions either
of compound B.                                                          directly by assessing their activities against specific cutoff
                                                                        values or indirectly by comparing their activities against
   FIG. 6 illlustrates the phosphodiesterase inhibitory activ-     35
                                                                        known compounds useful for treating neoplastic lesions. A
ity of compound E.
                                                                        standard compound that is known lo be effective for treating
   FIG. 7 Aillustrates the effects of sulindac sulfide on cGMP          neoplastic lesions without causing gastric irritation is
levels in HT-29 cells.                                                  5-fl uoro-2-metby 1-1-(p-metby lsulfon y lbenzy lidene )-3-
   FIG. 7B illustrates the effects of sulindac sulfide on cAMP          indenylacetic acid ("exisulind"). Other useful compounds
levels in HT-29 cells.                                             40
                                                                        for comparative purposes include those that are known lo
   FIG. 8 illustrates the effects of sulindac sulfide and               inhibit COX, such as indornethacin and the sulfide metabo-
exisulind on HT-29 cell growth inhibition and apoptosis                 1 it e of s u l i n d a c     5-fluoro-2-methyl-1-(p-
induction as determined by DNA fragmentation.                           methylsulfiny lbenzy lidene )-3-indeny lacetic acid ("sulindac
   FIG. 9 illustrates the apoptosis inducing properties of              sulfide"). Other useful compounds for comparative purposes
                                                                   45
compound E.                                                             include those that are known to inhibit PDE5, such as
                                                                        1-(3-cbloroanilino )-4-pbenypbtbalazine ("MY5445").
   FIG. 10 illustrates the apoptosis inducing properties of
compound B.                                                                 A test compound is clearly determined to be a promising
                                                                        candidate if it performs better than or comparable to
   FIG. 11 illustrates the effects of sulindac sulfide and
                                                                        ex.isulind and does not inhibit COX. Io general, desirable
ex.isulind on tumor cell growth.                                   50
                                                                        compounds are those that inhibit PDE5 and inhibit cell
   FIG. 12 illustrates the growth inhibitory and apoptosis-             growth and induce apoptosis, but do not inhibit COX at
inducing activity of sulindac sulfide and control (DMSO).               pharmacologically accepted doses.
   FIG. 13 illustrates the growth inhibitory activity of com-               As used herein, the term "precancerous lesion" includes
pound E.                                                                syndromes represented by abnormal neoplastic, including
                                                                   55
   FIG. 14 illustrates the inhibition of pre-malignant, neo-            dysplastic, changes of tissue. Examples include dysplastic
plastic lesions in mouse mammary gland organ culture by                 growths in colonic, breast, prostate or lung tissues, or
sulindac metabolites.                                                   conditions such as dysplastic nevus syndrome, a precursor to
                                                                        malignant melanoma of the skin. Examples also include, in
           DETAILED DESCRIPTION OF THE                                  addition to dysplastic nevus syndromes, polyposis
                                                                   60
             PREFERRED EMBODIMENTS                                      syndromes, colonic polyps, precancerous lesions of the
   The method of this invention is useful to identify com-              cervix (i.e., cervical dysplasia), esophagus, lung, prostatic
pouods that can be used to treat or prevent neoplasms, and              dysplasia, prostatic intraneoplasia, breast and/or skin and
which are not characterized by the serious side effects of              related conditions ( e.g., actinic keraosis), whether the
conventional NSAIDs.                                               65   lesions are clinically identifiable or not.
   Cancer and precancer may be thought of as diseases that                  As used herein, the term "carcinoma" or "cancer" refers
involve unregulated cell growth. Cell growth involves a                 to lesions which are cancerous. Examples include malignant
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melanomas, breast cancer, prostate cancer and colon cancer.           l.B Purified cyclooxygenases
As used herein, the terms "neoplasia" and "neoplasms" refer           Two different forms of cyclooxygenase (COX-I and
to both cancerous and pre-cancerous lesions.                      COX-2) have been reported in the literature to regulate
   As used herein, the abbreviation PG represents prostag-        prostaglandin synthesis. It is known that COX-2 represents
landin; PS represents prostaglandin syntbetase; PGE2 rep- 5 the inducible form of COX while COX-I represents a
resents prostaglaodin E2; PDE represents phosphodi-               constitutive form. COX-I activity can be measured using the
esterase; COX represents cyclooxygenase; RIA represents-          method described by Mitchell et al. ("Selectivity of Non-
radioimmunoassay,                                                 steroidal Anti-inflammatory Drugs as Inhibitors of Consti-
                                                                  tutive and Inducible Cyclooxygenase," Proc. Natl. Acad.
   As used herein, "PDE5" refers to that enzyme and any of 10 Sci. USA., 90:11693-11697, 1993, which is incorporated
its isoforms that exhibit cGMP specific bydrolytic enzyme         herein by reference) using COX-I purified from ram seminal
activities and high affinity cGMP binding.                        vesicles as described by Boopathy & Balasubramanian,
   In another aspect of the invention, there is a method for      "Purification And Characterization Of Sheep Platelet
treating patients in need of treatment for neoplasia by           Cyclooxygenase" (Biochem. J., 239:371-377, 1988, which
identifying compounds that exhibit substantial PDE5 inhibi- 15 is incorporated herein by reference). COX-2 activity can be
tory activity at pharmacologically acceptable doses, and          measured using COX-2 purified from sheep placenta as
administering one or more of those compounds to a patient         described by Mitchell et al., 1993, supra.
in need thereof with neoplasia sensitive to the compound.            The cyclooxygenase inhibitory activity of a drug can be
                                                                  determined by methods known in the art. For example,
                 SCREENING PROTOCOLS                           20 Boopatby & Balasubramanian, 1988, supra, described a
                                                                  procedure in which prostaglandin H synthase 1 (Cayman
   The following screening protocols, and alternative             Chemical, Ano Arbor, Mich.) is incubated at 37° C. for 20
protocols, are provided to aid in the understanding of the        min with 100 pM arachidonic acid (Sigma Chemical Co.),
preferred methods used to screen test compounds to deter-         cofactors (such as 1.0 mM glutathione, 1.0 mM
mine their potential to treat or prevent neoplasia, especially 25 bydroquinone, 0.625 pM hemoglobin and 1.25 mM CaCl in
                                                                                                                            2
pre-cancerous lesions.                                            100 mM Tris-HCl, pH 7.4) and the drug to be tested.
1. Determining COX Inhibitory Activity                            Following incubation, the reaction can be terminated with
   COX inhibition can be determined by either of two              trichloroacetic acid. Enzymatic activity can then be mea-
methods. One method involves measuring PGE2 secretion             sured spectrophotometrically at 530 nm after stopping the
by intact HL-60 cells following exposure to the compound 30 reaction by adding tbiobarbituric acid and malonaldehyde.
being screened. The other method involves measuring the               Obviously, a compound that exhibits minimal COX-I or
activity of purified cyclooxygenases (COXs) in the presence       COX-2 inhibitory activity in relation to its greater PDE5
of the compound. Both methods involve protocols previ-            inhibitory activity may not be entirely undesirable.
ously described in the literature.                                    l.C. Analyzing Results
   l.A. PGE2 secretion                                         35    The amount of inhibition is determined by comparing the
   Compounds of this can be evaluated to determine whether        activity of the cyclooxygenase in the presence and absence
they inhibited the production of prostaglandin E2 ("PGEz''),      of the test compound. Residual or no COX inhibitory
according to procedures known in the art. For example,            activity (i.e., less than about 25%) at a concentration of
PGE2 secreted from a cell can be measured using an enzyme         about 100 pM is indicative that the compound should be
immunoassay (EIA) kit for PGE2, such as commercially 40 evaluated further for usefulness for treating neoplasia.
available from Amersharn, Arlington Heights, Ill USA              Preferably, the IC50 concentration should be greater than
Suitable cells include those which make an abundance of           1000 µM for the compound to be further considered poten-
PG, such as HL-60 cells. HL-60 cells are human promyelo-          tial use.
cytes that are differentiated with DMSO in mature granule-        2. Determining Phosphodiesterase (PDE5) Inhibition Activ-
cytes. (See, Collins, S. J., Ruscetti, F. W., Gallagher, R. E. 45 ity
and Gallo, R. C., "Normal Functional Characteristics of               Compounds can be screened for inhibitory effect on
Cultured Human Prornyelccytic Leukemia Cells (HL-60)              phosphodiesterase activity using either the enzyme isolated
After Induction of Differentiation By Dimethylsulfoxide" ,J.      from any tumor cell line such as HT-29 or SW-480, or
Exp. Med., 149:969-974, 1979). These differentiated cells         recombinant HS-PDE5, for example, or measuring cyclic
produce PGE2 after stimulation with a calcium ionophore 50 nucleotide levels in whole cells.
A23187 (see, Kargman, S., Prasit, P. and Evans, J. F.,               2.A. Enzyme Assay
"Translocation of HL-60 Cell 5-Lipoxygenase", J. Biol.               Phosphodiesterase activity can be determined using meth-
Chem., 266: 23745-23752, 1991). HL-60 are available from          ods known in the art, such as a method using radioactive 3H
the American Type Culture Collection (ATCC:CCL240).               cyclic GMP (cGMP)(cyclic 3',5'-guanosine monophosphate)
They can be grown in a RPM! 1640 medium supplemented 55 as the substrate for PDE5 enzyme. (Thompson, W. J.,
with 20% beat-inactivated fetal bovine serum, 50 U/ml             Teraski, W. L., Epstein, P. M., Strada, S. J., Advances in
penicillin and 50 pg/ml streptomycin in an atmosphere of          Cyclic Nucleotide Research, 10:69-92, 1979, which is incor-
5% CO2 at 37° C. To induce myeloid differentiation, cells         porated herein by reference). In brief, a solution of defined
are exposed to 1.3% DMSO for 9 days and then washed and           substrate 3H-cGMP specific activity (0.2 ,uM; 100,000 cpm;
resuspended in Dulbecco's phosphate-buffered saline at 60 containing 40 mM Tris-HCl (pH 8.0), 5 MM MgC12 and 1
3xl06 cells/ml.                                                   mg/ml BSA) is mixed with the drug to be tested in a total
   The differentiated HL-60 cells (3x106 cells/ml) can be         volume of 400 pl. The mixture is incubated at 30° C. for 10
incubated for 15 min at 37° C. in the presence of the             minutes with partially purified PDE5 isolated from HT-29
compounds tested at the desired concentration. Cells are          cells. Reactions are terminated, for example, by boiling the
then stimulated by A23187 (5xl0-6 M) for 15 min. PGE2 65 reaction mixture for 75 seconds. After cooling on ice, 100 pl
secreted into the external medium is measured as described        of 0.5 mg/ml snake venom (0. Hannah venom available
above.                                                            from Sigma) is added and incubated for 10 min at 30° C.
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This reaction is then terminated by the addition of an              cootenl/cAMP content is in the 0.03-0.05 range (i.e.,
alcohol, e.g. 1 ml of 100% methanol. Assay samples are              300-500 fmol/mg protein cGMP content over 6000-8000
applied to a anion chromatography column ( 1 ml Dowex,              fmol/mg protein cAMP content). After exposure to desirable
from Aldrich) and washed with 1 ml of 100% methanol. The            anti-neoplastic compounds, that ratio increases several fold
amount of radioactivity in the breakthrough and the wash 5 (preferably at least about a three-fold increase) as the result
from the columns in then measured with a scintillation              of an initial increase in cyclic GMP and the later decrease in
counter. The degree of PDE5 inhibition is determined by             cyclic AMP.
calculating the amount of radioactivity in drug-treated reac-          Specifically, it has been observed that particularly desir-
tions and comparing against a control sample (a reaction            able compounds achieve an initial increase in cGMP content
mixture lacking the tested compound).                            10 in treated neoplastic cells to a level of cGMP greater than
   2.B. Cyclic Nucleotide Measurements                              about 500 fmol/mg protein. Io addition, particularly desir-
   Alternatively, the ability for desirable compounds to            able compounds cause the later decrease in cAMP content in
inhibit PDE5 is reflected by an increase in cGMP in neo-            treated neoplastic cells to a level of cAMP less than about
plastic cells exposed to a compound being screened. The             4000 frnol/mg protein.
amount of PDE5 activity can be determined by assaying for 15           To determine the content of cyclic AMP, radioirnrnunoas-
the amount of cyclic GMP in the extract of treated cells            say techniques similar to those described above for cGMP
using radioimmuooassay (RIA). Io this procedure, HT-29 or           are used. Basically, cyclic nucleotides are purified from
SW-480 cells are plated and grown to cooflueocy. The test           acid/alcohol extracts of cells using anion-exchange
compound is then incubated with the cell culture at a               chromatography, dried, acetylated according to published
concentration of compound between about 200 ,uM to about 20 procedures and quantitated using radioimmunoassay proce-
200 pM. About 24 to 48 hours thereafter, the culture media          dures. Iodinated ligands of derivatized cyclic AMP and
is removed from the cells, and the cells are solubilized. The       cyclic GMP are incubated with standards or uokoowos in the
reaction is stopped by using 0.2 N HCl/50% MeOH. A                  presence of specific antisera and appropriate buffers.
sample is removed for protein assay. Cyclic GMP is purified            Verification of the cyclic nucleotide content may be
from the acid/alcohol extracts of cells using anion-exchange 25 obtained by determining the turnover or accumulation of
chromatography, such as a Dowex column. The cGMP is                 cyclic nucleotides in intact cells. To measure ioleact cell
dried, acetylated according lo published procedures, such as        cAMP, 3H-adeoioe prelabeliog is used according to pub-
using acetic anhydride in triethylamine, (Steiner, A L.,            lished procedures (Whalio M. E., R. L. Garrett Jr., W. J.
Parker, C. W., Ki pois, D. M.,J Biol. Chem., 247(4):1106-13,        Thompson, and S. J. Strada, "Correlation of cell-free brain
1971, which is incorporated herein by reference). The acety- 30 cyclic nucleotide phosphodiesterase activities lo cyclic AMP
lated cGMP is quantitated using radioimmuooassay proce-             decay in intact brain slices", Sec. Mess. and Phos. Protein.
dures (Harper, J., Brooker, G., Advances in Nucleotide              Research, 12:311-325, 1989, which is incorporated herein
Research, 10:1-33, 1979, which is incorporated herein by            by reference). The procedure measures flux of labeled ATP
reference). Iodinated ligands (tyrosine rnetheyl ester) of          to cyclic AMP and can be used to estimate intact cell
derivatized cyclic GMP are incubated with standards or 35 adeoylate cyclase or cyclic nucleotide phosphodiesterase
uokoowos in the presence of aotisera and appropriate buff-          activities depending upon the specific protocol. Cyclic GMP
ers. Antiserum may be produced using cyclic nucleotide-             accumulation was too low to be studied with intact cell
haptene directed techniques. The antiserum is from sheep            prelabeliog according to published procedures (Reynolds, P.
injected with succioyl-cGMP-albumio conjugates and                  E., S. J. Strada and W. J. Thompson, "Cyclic GMP accu-
diluted 1/20,000. Dose-interpolation and error analysis from 40 mulatioo in pulmonary microvascular endothelial cells mea-
standard curves are applied as described previously (Seibert,       sured by intact cell prelabeling," Life Sci., 60:909-918,
A. F., Thompson, W. J., Taylor, A, Wilbourn, W. H.,                 1997, which is incorporated herein by reference).
Barnard, J. and Haynes, J., J. Applied Pliysiol, 72:389-395,           2.C. Tissue sample assay
1992, which is incorporated herein by reference).                      The PDE5 inhibitory activity of a test compound can also
   Io addition, the culture media may be acidified, frozen 45 be determined from a tissue sample. Tissue samples, such as
(- 70° C.) and also analyzed for cGMP and cAMP.                     mammalian (preferably rat) liver, are collected from subjects
   In addition to observing increases in content of cGMP            exposed to the test compound. Briefly, a sample of tissue is
caused by desirable test compounds, decreases in content of         homogenized in 500 pl of 6% TCA. A known amount of the
cAMP have been observed. It has been observed that a                homogenate is removed for protein analysis. The remaining
particularly desirable compound (i.e. one that selectively 50 homogenate is allowed to sit on ice for 20 minutes lo allow
induces apoptosis in neoplastic cells, but not substantially in     for the protein to precipitate. Next, the homogenate is
normal cells) follows a time course consistent with PDE5            centrifuged for 30 minutes al 15,000g at 4 ° C. The super-
inhibition as one initial action resulting in an increased          natant is recovered and the pellet recovered. The supernatant
cGMP content within minutes. Secondarily, treatment of              is washed four times with five volumes of water saturated
neoplastic cells with a desirable anti-neoplastic compound 55 diethyl ether. The upper ether layer is discarded between
leads to decreased cAMP content within 24 hours. The                each wash. The aqueous ether extract is dried in a speed vac.
intracellular targets of drug actions are being studied further,    Once dried, the sample can be frozen for future use, or used
but current data supports the concept that both the initial rise    immediately. The dried extract is dissolved in 50011! of assay
in cGMP content followed by the subsequent fall in cAMP             buffer. The amount of PDE5 inhibition is determined by
content precede apoptosis in neoplastic cells exposed to 60 assaying for the amount of cyclic nucleotides using an
desirable compounds.                                                enzyme immunoassay (EIA), such as the Biotrak EIA sys-
   The change in the ratio of the two cyclic nucleotides may        tem acetylation protocol (available from Arnersham, Arling-
be a more accurate tool for evaluating desirable PDE5               ton Heights, 111., USA). Alternatively, RIA procedures as
inhibition activity of test compounds, rather than measuring        detailed above may be used.
only the absolute value of cGMP, only PDE5 inhibition, or 65           2.D. Analyzing Results
only the absolute value of cGMP. In neoplastic cells not               The amount of inhibition is determined by comparing the
treated with anti-neoplastic compounds, the ratio of cGMP           activity of PDE5 in the presence and absence of the test
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                               9                                                                   10
 compound. Inhibition of PDE5 activity is indicative that the            Two distinct forms of cell death may be described by
compound is useful for treating neoplasia. Significant inhibi-       morphological and biochemical criteria: necrosis and apo-
 tory activity greater than that of the benchmark, exisulind,        ptosis. Necrosis is accompanied by increased permeability
preferably greater than 50% al a concentration of 10 f1M or          of the plasma membrane; the cells swell and the plasma
below, is indicative that a compound should be further 5 membrane ruptures within minutes. Apoptosis is character-
evaluated for antineoplastic properties. Preferably, the IC50        ized by membrane blebbing, condensation of cytoplasm and
value for PDE5 inhibition should be less than 50 pM for the          the activation of endogenous endonucleases.
compound lo be further considered for potential use.                     Of the two, apoplosis is the most common form of
3. Determining Whether A Compound Reduces The Number                 eukaryotic cell death. It occurs naturally during normal
 Of Tumor Cells
                                                                  10 tissue turnover and during embryonic development of
    In an alternate embodiment, the screening method of the
                                                                     organs and limbs. Apoplosis also is induced by cytotoxic
present invention involves further determining whether the
compound reduces the growth of tumor cells. Various cell             T-lymphocytes and natural killer cells, by ionizing radiation
 lines can be used in the sample depending on the tissue to be       and certain chemotherapeutic drugs. Inappropriate regula-
tested. For example, these cell lines include: SW-480-               tion of apoptosis is thought to play an important role in many
colonic adenocarcinoma; HT-29--colonic adenocarcinoma, 15 pathological conditions including cancer, AIDS, Alzheimer
A-427-lung adenocarcinoma carcinoma; MCF- 7--breast                  disease, etc. Compounds can be screened for induction of
adenocarcinoma; and UACC-375-melanoma line; and                      apoptosis using cultures of tumor cells maintained under
DU145-prostrale carcinoma. Cytoloxicity data obtained                conditions as described above. Treatment of cells with lest
using these cell lines are indicative of an inhibitory effect on     compounds involves either pre- or post-confluent cultures
neoplastic lesions. These cell lines are well characterized, 20 and treatment for two lo seven days at various concentra-
and are used by the United States National Cancer Institute          tions. Apoptotic cells are measured in both the attached and
in their screening program for new anti-cancer drugs.                "floating" compartments of the cultures. Both compartments
    3A. Tumor Inhibition in HT-29 Cell Line                          are collected by removing the supernatant, trypsinizing the
    A compound's ability lo inhibit tumor cell growth can be         attached cells, and combining both preparations following a
measured using the HT-29 human colon carcinoma cell line 25 centrifugation wash step (10 minutes, 2000 rpm). The pro-
obtained from ATCC (Bethesda, Md.). HT-29 cells have                 tocol for treating tumor cell cultures with sulindac and
previously been characterized as relevant colon tumor cell           related compounds to obtain a significant amount of apop-
culture model (Fogh, J., and Trempe, G. In: Human Tumor              tosis has been described in the literature. (See, Piazza, G. A.,
Cells in Vitro, J. Fogb (eds.), Plenum Press, New York, pp.
                                                                     et al., Cancer Research, 55:3110-16, 1995, which is incor-
115-159, 1975). HT-29 cells are maintained in RPMI media
                                                                  30 porated herein by reference). The novel features include
supplemented with 5% fetal serum (Gemini Bioproducts,
                                                                     collecting both floating and attached cells, identification of
Inc., Carlsbad, Calif.) and 2 mm glutamine, and 1 %
antibiotic-antimycotic in a humidified atmosphere of 95%             the optimal treatment times and dose range for observing
air and 5% CO2 at 37° C. Briefly, HT-29 cells are plated at          apoptosis, and identification of optimal cell culture condi-
a density of 500 cells/well in 96 well microtiter plates and         tions.
incubated for 24 hours at 37° C. prior to the addition of 35            4.A. Morphological observation of apoptosis
compound. Each determination of cell number involved six                Following treatment with a test compound, cultures can
replicates. After six days in culture, the cells are fixed by the    be assayed for apoptosis and necrosis by fluorescent micros-
addition of cold trichloroacetic acid lo a final concentration       copy following labeling with acridine orange and ethidium
of 10% and protein levels are measured using the sulfor-             bromide. The method for measuring apoptotic cell number
hodamine B (SRB) calorimetric protein stain assay as pre- 40 bas previously been described by Duke & Cohen, "Morpho-
viously described by Skehan, P., Storeng, R., Scudiero, D.,          logical And Biochemical Assays Of Apoptosis," Current
Monks, A., McMahon, J., Vistica, D., Warren, J. T.,                  Protocols In Immunology, Coligan et al., eds.,
Bokesch, H., Kenney, S., and Boyd, M. R., "New Colori-               3.17.1-3.17.16 (1992, which is incorporated herein by
metric Assay For Anticancer-Drug Screening," J. Natl. Can-           reference).
cer Inst. 82: 1107-1112, 1990, which is incorporated herein 45          For example, floating and attached cells can be collected
by reference.                                                        by trypsinization and washed three times in PBS. Aliquots of
    In addition to the SRB assay, a number of other methods          cells can be centrifuged. The pellet can then be resuspended
are available to measure growth inhibition and could be
                                                                     in media and a dye mixture containing acridine orange and
substituted for the SRB assay. These methods include count-
                                                                     ethidium bromide prepared in PBS and mixed gently. The
ing viable cells following trypan blue staining, labeling cells
                                                                  50 mixture can then be placed on a microscope slide and
capable of DNA synthesis with BrdU or radiolabeled
thymidine, neutral red staining of viable cells, or MTT              examined.
staining of viable cells.                                               4.B. Analysis of apoptosis by DNA fragmentation
    3.B. Analyzing Results                                              Apoptosis can also be quantified by measuring an increase
    Significant tumor cell growth inhibition greater than about      in DNA fragmentation in cells which have been treated with
50% al a dose of 100 11M or below is further indicative that 55 test compounds. Commercial photometric EIA for the quan-
the compound is useful for treating neoplastic lesions.              titative in vitro determination of cytoplasmic histone-
Preferably, an IC50 value is determined and used for com-            associated-DNA-fragments (mono- and oligonucleosomes)
parative purposes. This value is equivalent to the concen-           are available (Cell Death Detection ELISA0'Y', Cat. No.
tration of drug needed to inhibit tumor cell growth by 50%           1,774,425, Boehringer Mannheim). The Boehringer Man-
relative to the control. Preferably, the IC50 value should be 60 nheim assay is based on a sandwich-enzyme-immunoassay
less than 100 fiM for the compound to be considered further          principle using mouse monoclonal antibodies directed
for potential use for treating neoplastic lesions.                   against DNA and histones, respectively. This allows the
4. Determining Whether A Compound Induces Apoptosis                  specific determination of mono- and oligonucleosomes in
    In a second alternate embodiment, the screening method           the cytoplasmatic fraction of cell lysates.
of the present invention further involves determining 65                According to the vendor, apoptosis is measured in the
whether the compound induces apoptosis in cultures of                following fashion. The sample (cell-lysate) is placed into a
tumor cells.                                                         streptavidin-coated microtiter plate ("MTP"). Subsequently,
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                               11                                                                         12
a mixture of anti-bistone-biotin and anti-DNA peroxidase               compound treated glands is compared with that of the
conjugate are added and incubated for two hours. During the            untreated glands.
incubation period, the anti-histone antibody binds to the                 The extent of the area occupied by the mammary lesions
bistone-component of the nucleosomes and simultaneously                can be quantitated by projecting an image of the gland onto
fixes the immunocomplex to the streptavidin-coated MTP               5 a digitation pad. The area covered by the gland is traced on
via its biotinylation. Additionally, the anti-DNA peroxidase           the pad and considered as 100% of the area. The space
antibody reacts with the DNA component of the nucleo-                  covered by each of the unregressed structures is also out-
somes. After removal of unbound antibodies by a washing                lined on the digitization pad and quantitated by the com-
step, the amount of nucleosomes is quantified by the per-              puter.
oxidase retained in the immunocomplex. Peroxidase is                 10
determined photometrically with ABTS7 (2,2'-Azido-[3-                                     EXPERIMENTAL SECTION
etbylbenztbiazolin-sulfonate ])* as substrate.
                                                                           A number of test compounds were examined in the
   For example, SW-480 colon adenocarcinoma cells are
                                                                        various protocols and screened for potential use in treating
plated in a 96-well MTP at a density of 10,000 cells per well.
                                                                        nenplasia. The results of these tests are reported below. The
Cells are then treated with test compouod, and allowed to            15
                                                                        test compounds are hereinafter designated by a Jetter code
incubate for 48 hours at 37° C. After the incubation, the MTP
                                                                        that corresponds to the following:
is centrifuged and the supernatant is removed. The cell pellet
in each well is then resuspended in lysis buffer for 30                    A-rac-tbreo-(E)-1-(N ,N'-diet by laminoetbane thio )-1-
minutes. The lysates are then centrifuged and aliquots of the           (buta n-1 ',4' -olido )- [3' ,4': 1,2]-6-fluoro-2-metbyl-3-(p-
supernatant (i.e. cytoplasmic fraction) are transferred into         20 metbylsulfonylbenzylidene)-indan;
streptavidin coated MTP. Care is taken not to shake the lysed              B-(Z)-5 -Flu o ro -2-me t by 1-1-(3, 4, 5-
pellets (i.e. cell nucleii containing high molecular weight,            trimetboxybenzylidene)-3-acetic acid;
unfragmented DNA) in the MTP. Samples are then analyzed.                   C--{Z)-5-Fluoro-2-metbyl-1-(p-cblorobenzylidene)-3-
   Fold stimulation (FS=ODma.JODv,1i), an indicator of ape-             acetic acid;
ptotic response, is determined for each compound tested at           25    D-rac-(E)-1-(bu tan-1' ,4'-olido )-[3' ,4': 1,2 ]-6-fluoro-2-
a given coocentration. EC50 values may also be determined               methy 1-3-(p-metby lsulfonylbenzy lidene )-lS-indany 1-N-
by evaluating a series of concentrations of the test com-               acetylcysteine;
pound.
                                                                           E-(Z)-5-F I u oro-2-m e I h yl-1-(3, 4,5 -
   4.C. Analyzing Results
                                                                        trimetboxybenzylidene)-3-indenylacetamide, N-benzyl;
   Statistically significant increases of apoptosis (i.e., greater   30
than 2 fold stimulation at a concentration of 100 µM) are                  F-(Z)-5-Fl uoro-2-metby 1-1-(p-
further indicative that the compouod is useful for treating             methy lsulfonylbenzy lidene )-3-indeny lacetamide, N ,N'-
neoplastic lesions. Preferably, the EC50 value for apoptotic            dicyclobexyl;
activity should be less than 100 pM for the compound to be                 G-ribo-(E)-1-Triazolo-[2',3': 1 ",3"]-1-(butan-1' ,4'-
further considered for potential use for treating neoplastic         35 o lido)-[ 3', 4' 1,2)-6-fluoro-2-rnetbyl-3-(p-
lesions. EC50 is herein defined as the concentration that               metbylsulfonylbenzylidene)-indan; and
causes 50% induction of apoptosis relative to vehicle treat-               H-rac-(E)-1-(butan- l' ,440 -olido)-[3' ,4': 1,2 ]-6-fl.uoro-2-
ment.                                                                   rn e thy 1-3-(p-metb y lsul fon y I be n zy lide ne )-1 S-i ndany 1-
5. VALIDATION-Mammary Gland Organ Culture Model                         glutathione).
Tests                                                                40 Example 1-COX inhibition assay
   Test compounds identified by the above methods can be                   Reference compounds and test compounds were analyzed
tested for antineoplastic activity by their ability to inhibit the      for their COX inhibitory activity in accordance with the
incidence of preneoplastic lesions in a mammary gland                   protocol for the COX assay of section 1.B. supra. FIG. 1
organ culture system. This mouse mammary gland organ                    shows the effect of various concentrations of either sulindac
culture technique bas been successfully used by other inves-         45
                                                                        sulfide or exisulind on purified cyclooxygenase (Type 1)
tigators to study the effects of known antineoplastic agents            activity. Cyclooxygenase activity was determined using
such as NSAIDs, retinoids, tamoxifen, selenium, and certain             purified cyclooxygenase from ram seminal vesicles as
natural products, and is useful for validation of the screening         described previously (Mitchell et al, supra). The IC-50 value
method of the present invention.                                        for sulindac sulfide was calculated to be approximately 1. 76
   For example, female BALB/c mice can be treated with a             50 ,uM, while that for exisulind was greater than 10,000 pM.
combination of estradiol and progesterone daily, in order to            These data show that sulindac sulfide, but not exisulind, is
prime the glands to be responsive lo hormones in vitro. The             a COX-I inhibitor. Similar data was obtained for the COX-2
animals are sacrificed and thoracic mammary glands are                  isoenzyrne. (Thompson, et al., Journal of the National
excised aseptically and incubated for ten days in growth                Cancer Institute, 87: 1259-1260, 1995).
media supplemented with insulin, prolactin, bydrocortisone,          55
                                                                           FIG. 2 shows the effect of test compounds B and E on
and aldosterone. DMBA (7,12-dimetbylbenz(a)antbracene)                   COX inhibition. COX activity was determined as for the
is administered to induce the formation of premalignant                 compounds shown in FIG. 1. The data show that both test
lesions. Fully developed glands are then deprived of                    compound B and E do not significantly inhibit COX-I.
prolactin, bydrocortisone, and aldosterone, resulting in the
regression of the glands but not the premalignant lesions.           60
                                                                                                      TABLE 1
   The test compound is dissolved in DMSO and added to
the culture media for the duration of the culture period. At                 Cvclooxveenase inhibilorv activity amon2 a series of compounds
the end of the culture period, the glands were fixed in 10%
                                                                               Reference compounds              % Inhibition al JOO µM
formalin, stained with alum carmine, and mounted on glass
slides. The incidence of forming mammary lesions is the              65        Indomethacin                               95
ratio of the glands with mammary lesions and glands with-                      MY5445                                     94
out lesions. The incidence of mammary lesions in test
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                                   13                                                                        14
                         TABLE I-continued                                                          TABLE 2-continued
    Cyclooxygenase inhibitory activity among a series of compounds                   PDES inhibitory acitiviry among a series of compounds
     Sulindac sulfide                              97                            D                                           ~
      Exisulind                                  <25                             E                                           ~

      Test compounds                     % lnhibition al JOO /llVl
                                                                    Tbe above compounds in Table 2 were evaluated for PDE
      A                                            <25           inhibitory activity, as described in tbe protocol of section
        B                                          <25
        C                                           87       JO 2.A; supra. Of the compounds that did not inhibit COX, only
        D                                          <25          compound E was found to cause greater than 50% inhibition
        E                                          <25           at 10 pM. As noted in FIG. 11, compound B sbowed
                                                                inhibition of greater than 50% at a dose of 20 pM. Therefore,
    In accordance with the protocol of section l.B., supra,     depending on the dosage level used in a single dose test,
compounds A through E were evaluated for COX inhibitory J5 some compounds may be screened out that otherwise may
 activity as reported in Table 1 above. Compound C was          be active at slightly higher dosages. The dosage used is
found lo inhibit COX greater than 25% at a 100 pM dose,         subjective and may be lowered after active compounds are
and therefore, would not be selected for further screening.     found at certain levels to identify even more potent com-
Example 2-PDE5 inhibition assay                                 pounds.
    Reference compounds and test compounds were analyzed 20 Example 3-Apoptosis assay
for their PDE5 inhibitory activity in accordance with the           Reference compounds and test compounds were analyzed
protocol for the assay of section 2.A., supra. FIG. 3 shows     for their PDE5 inhibitory activity in accordance with the
the effect of various concentrations of sulindac sulfide and    protocol for tbe assay of section 4.A. and 4.B., supra. In
exisulind on either PDE-4 or PDE5 activity purified from        accordance with tbe assay of 4.A., FIG. 7 shows tbe effects
human colon HT-29 cultured tumor cells, as described 25 of sulindac sulfide and exisulind on apoplotic and necrotic
previously (W. J. Thompson et al., supra). Tbe IC50 value of    cell death. HT-29 cells were treated for six days with tbe
sulindac sulfide for inhibition of PDE4 was 41 pM, and for      indicated dose of either sulindac sulfide or exisulind. Apo-
inhibition of PDE5 was 17 pM. Tbe IC50 value of exisulind       ptotic and necrotic cell death was determined previously
for inhibition of PDE4 was 181 pM, and for inhibition of        (Duke and Cohen, In: Current Protocols in Immunology,
PDE5 was 56 pM. These data show that both sulindac sulfide 30 3.17.1-3.17.16, New York, John Wiley and Sons, 1992). Tbe
and exisulind inhibit phospohodiesterase activity. Both com-    data shows that both sulindac sulfide and exisulind are
pounds show selectivity for tbe PDE5 isoenzyme form.            capable of causing apoptotic cell death without inducing
   FIG. 4 shows tbe effects of sulindac sulfide on either       necrosis. All data were collected from tbe same experiment.
cGMP or cAMP production as determined on cultured                  In accordance with tbe assay of 4.B., FIG. 8 shows the
HT-29 cells in accordance with tbe assay of section 2.B., 35 effect of sulindac sulfide and sulfone on tumor growth
supra. HT-29 cells were treated with sulindac sulfide for 30    inhibition and apoptosis induction as determined by DNA
minutes and cGMP or cAMP was measured by conventional           fragmentation. Top figure; growth inhibition (open symbols,
radioirnmunoassay method. As indicated, sulindac sulfide        right axis) and DNA fragmentation (closed symbols, left
increased tbe levels of cGMP by greater than 50% with an        axis) by exisulind. Bottom figure; growth inhibition (open
EC50 value of 7.3 pM (top). Levels of cAMP were unaf- 40 symbols) and DNA fragmentation (closed symbols) by
fected by treatment, although a known PDE4 inhibitor,           sulindac sulfide. Growth inhibition was determined by tbe
rolipram, increased cAMP (bottom). Tbe data demonstrate         SRB assay after six days of treatment. DNA fragmentation
tbe pharmacological significance of inhibiting PDE5, rela-      was determined after 48 hours of treatment. All data was
tive to PDE4.                                                   collected from tbe same experiment.
   FIG. S shows tbe effect of tbe indicated dose of test 45        FIG. 9 shows tbe apoptosis inducing properties of com-
compound B on either PDE5 or PDE4 isozymes of phos-             pound E. HT-29 colon adenocarcinoma cells were treated
phodiesterase. Tbe calculated IC50 value for PDE5 was 18        with tbe indicated concentration of compound E for 48 hours
pM and 58 pM for PDE4.                                          and apoptosis was determined by tbe DNA fragmentation
   FIG. 6 shows tbe effect of tbe indicated dose of test        assay. The calculated EC50 value was 0.05 pM.
compound E on either PDE4 or PDE5. The calculated IC50 50          FIG. 10 shows tbe apoptosis inducing properties of com-
value was 0.08 11M for PDE5 and greater than 25 pM for          pound B. HT-29 colon adenocarcinoma cells were treated
PDE4.                                                           with tbe indicated concentration of compound B for 48
                                                                hours and apoptosis was determined by tbe DNA fragmen-
                          TABLE 2                               tation assay. The calculated EC50 value was approximately
                                                             55 175 pM.
          PDES inhibitory acitivitv among a series of compounds

     Reference compounds                 % Inhibition at JO .uM                                         TABLE 3
     Indomethacin                                   34                           Apoptosis inducine activitv among a series of compounds
     MY5445                                         86
                                                                        60
     Sulindac sulfide                               97                               Reference compounds            Fold induction JOO   .uM
     Exisulind                                      39
                                                                                     Indornethacin                           <2.0
     Test compounds                      % Inhibition at 10 11M                      MY5445                                   4.7
                                                                                     Sulindac sulfide                         7.9
     A                                             <25                               Exisulind                               <2.0
     B                                             <25                  65
     C                                             <25                               Test compounds                Fold induction al 100 /LM
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                                                                       6,156,528
                                        15                                                                            16
                                                                                    FIG. 13 shows the growth inhibitory activity of test
                           TABLE 3-continued                                     compound E. HT-29 colon adenocarcinoma cells were
                                                                                 treated with the indicated concentration of compound E for
            Apoptosis inducing activity among a series of compounds              six days and cell number was determined by the SRB assay.
            A                                           <2.0                5    The calculated IC50 value was 0.04 JIM.
             B                                           3.4
             C                                           5.6                                                      TABLE 5
             D                                          <2.0
             E                                           4.6
                                                                                            Growth inhibitorv activitv amon2 a series of compounds

                                                                            10          Reference compounds                  % Inhibition at JOO /IM
   In accordance with the protocol of section 4.B., supra, the
compounds A through E were tested for apoptosis inducing                                [ndomethacin                                      75
activity, as reported in Table 3 above. Compounds B, C and                              MY5445                                            88
                                                                                        Sulindac sulfide                                  88
E showed significant apoptotic inducing activity, greater                               Exisulind                                        <50
than 2.0 fold, at a dosage of 100 pM. Of these three                        15
compounds, at this dosage only Band E did not inhibit COX                               Test compounds                       % Inhibition at JOO ;,M
and inhibited PDE5.
                                                                                        A                                                 68
   The apoptosis inducing activity for a series of phosphodi-                           B                                                 77
esterase inhibitors was determined. The data are shown in                               C                                                 80
Table 4 below. HT-29 cell were treated for 6 days with                      20          D                                                 78
various inhibitors of phospohodiesterase. Apoptosis and                                 E                                                 62
necrosis were determined morphologically after acridine
orange and ethidium bromide labelling in accordance with                            In accordance with the screening protocol of section 3.A.,
the assay of section 4.A., supra. The data show that PDE5 is                     supra, compounds A through E were tested for growth
useful for screening compounds that induce apoptosis of                     25   inhibitory activity, as reported in Table 5 above. All the test
HT-29 cells.                                                                     compounds showed activity exceeding the benchmark
                                                                                 exisulind at a 100 pM single does test.
                                 TABLE 4
                                                                                    The growth inhibitory activity for a series of phosphodi-
                  Apoptosis Inducing Data for PDE Inhibitors                     esterase inhibitors was determined. The data are shown in
                                                                            30
                                                                                 Table 6 below. HT-29 cell were treated for 6 days with
Inhibitor               Reported Selectivity   % Apoptosis     % Necrosis        various inhibitors of phospohodiesterase. Cell growth was
Vehicle                                             8              6             determined by the SRB assay in accordance with section
8-methoxy-IBMX          PDEl                        2              1             3.A., supra. The data show that inhibitors of PDE5 were
Milrinone               PDE3                       18              0             effective for inhibiting tumor cell growth.
R0-20-1724              PDE4                       ]]              2        35
MY5445                  PDE5                       80              5
IBMX                    Non-selective               4             13                                              TABLE 6
                                                                                                   Gro\\1h Inhibitorv Data for PDE Inhibitors
Example 4-Growth inhibition assay
    Reference compounds and test compounds were analyzed                    40                                                            Growth inhibition
                                                                                      Inhibitor              Reported Selectivity            (IC50,/IM)
for their PDE5 inhibitory activity in accordance with the
protocol for the assay of section 3.A., supra. FIG. 11 shows                          8-methoxy-IBMX         PDEJ                              >200 pM
the inhibitory effect of various concentrations of sulindac                           Milrinone              PDE3                              >200 /1.M
                                                                                      R0-20-1724             PDE4                              >200 ;tM
sulfide and exisulind on the growth of HT-29 cells. HT-29                             MY5445                 PDE5                                 5 ;tM
cells were treated for six days with various doses of                       45        IBMX                   Non-selective                     >100 ;tM
exisulind (triangles) or sulfide (squares) as indicated. Cell
number was measured by a sulforhodamine assay as previ-
ously described (Piazza et al., Cancer Research,                                    To show the effectiveness of this screening method on
55:3110-3116, 1995). The IC50 value for the sulfide was                          various forms of oeoplasia, compounds were tested on
approximately 45 pM and 200 pM for the sulfone. The data                    50   numerous cell lines. The effects of suliodac sulfide and
shows that both sulindac sulfide and exisulind are capable of                    exisulind on various cell lines was determined. The data is
inhibiting tumor cell growth.                                                    shown in table 7 below. The IC50 values were determined by
    FIG. 12 shows the growth inhibitory and apoptosis-                           the SRB assay. The data shows the broad effectiveness of
inducing activity of sulindac sulfide. A time course experi-                     these compounds on a broad range of oeoplasia, with
ment is shown involving HT-29 cells treated with either                     55   effectiveness at comparable dose range. Therefore, com-
vehicle, 0.1 % DMSO (open symbols) or sulindac sulfide,                          pounds identified by this invention should be useful for
120 pM (closed symbols). Growth inhibition (top) was                             treating multiple forms of neoplasia.
measured by counting viable cells after trypan blue staining.
Apoptosis (bottom) was measured by morphological deter-                                                           TABLE 7
mination following staining with acridine orange and                        60
                                                                                                  Gro\\1h lnhibitorv Data of Various Cell Lines
ethidium bromide as described previously (Duke and Cohea,
In.: Current Protocols in Immunology, 3.17.1-3.17.16, New                        Cell "Iype/                                             ICsavtM)
York, John Wiley and Soos, 1992). The data demonstrate
that sulindac sulfide is capable of inhibiting tumor cell                        Tissue specificity                          Sulindac sulfide        Exisulind
growth and that the effect is accompanied by an increase in                 65 ITT-29, Colon                                        60                     120
apoptosis. All data were collected from the same experi-                       HCT116, Colon                                        45                      90
ment.
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                                                                               6,156,528
                                       17                                                                                   18
                           TABLE 7-conlinued                                                                    TABLE S-contiuued
                Growth Inhibitory Data of Various Cell Lines                                              Activitv Profile of Various Compounds

Cell Type/                                              lC,0(11M)                  5                                                              Mammary
                                                                                                             COX      PDE5       Growth           Gland
Tissue specificity                          Sulindac sulfide        Exisulind                                In-      In-        In-              Organ
                                                                                       Compound              hibition hibition hibition Apoptosis Culture
MCF7/S, Breast                                     30                     90
UACC375, Melanoma                                  50                    JOO           - Tot active
A-427, Lung                                        90                    130      JO   +Slightly active
Bronchial Epithelial Cells (nomial)                30                     90           ++ModcrateJy active
NRK, Kidney (normal)                               50                    180           +++Strong) y active
KNRK, Kidney (transformed)                         60                    240           ++++Highest activity ever recorded
Human Prostate Carcinoma PC3                                              82
                                                                                          Obviously, numerous modifications and variations of the
                                                                                  15   present invention are possible in light of the above teach-
Example 5-Activity in mammary gland organ culture
model                                                                                  ings. It is therefore lo be understood that within the scope of
   FIG. 14 shows the inhibition of premalignanl lesioos in                             the appended claims, the invention may be practiced other-
mammary gland organ cullure by sulindac metabolites.                                   wise than as specifically described herein.
Mammary gland organ culture experiment were performed 20                                  We claim:
as previously described (Mehta and Moon, Cancer                                           l. A method for identifying a compound with potential for
Research, 46: 5832-5835, 1986). The results demonstrate                                treating neoplasia, comprising
that sulindac and exisuJind effectively inhibit the formation                             determining cyclooxygenase (COX) inhibitory activity of
of premalignant lesions, while sulindac sulfide was inactive.                                the compound; and
The data support the hypothesis that cyclooxygenase inhi-                                 determining cGMP-specific phosphodiesterase ("PDE")
                                                              25
bition is not necessary for the anti-neoplastic properties of                                inhibition activity of the compound against cGMP-
desired compounds.                                                                           specific PDE enzymatic activity from adenocarcinoma
                                                                                             cells;
                                ANALYSIS                                                  wherein low COX inhibitory activity and high inhibition
   To identify compounds that have potential use for treating                     30         of said cGMP-PDE activity identifies that the com-
neoplasia, this invention provides a rationale for comparing                                 pound has potential for treating neoplasia.
experimental data of test compounds from several protocols.                               2. The method of claim 1, further comprising
Within the framework of this invention, test compounds can                                determining whether the compound inhibits tumor cell
be ranked according to their potential use for lrea ling                                     growth in a culture;
neoplasia in humans. Those compounds having desirable                             35      wherein inhibition of tumor cell growth further identifies
effects may be selected for more expensive and time con-                                     that the compound has potential for treating neoplasia.
suming animal studies that are required to get approval                                   3. The method of claim 1, further comprising
before initialing human clinical trials.                                                  determining whether the compound induces apoptosis of
   Qualitative data of various test compounds and the several                                a tumor cell;
protocols are shown in Table 8 below. The data show that                          40
                                                                                          wherein induction of apoptosis further identifies that the
exisulind, compound B and compound E exhibit the appro-                                      compound has potential for treating neoplasia.
priate activity to pass the screen of four assays: lack of COX                            4. The method of claim 3, further comprising
inhibition, PDE inhibition, growth inhibition and apopiosis
                                                                                          determining whether the compound inhibits tumor cell
induction. The activity of these compounds in the mammary
                                                                                  45         growth in a sample;
gland organ culture validates the effectiveness of this inven-
tion. The qualitative valuations of the screening protocols                               wherein inhibition of tumor cell growth further indicates
rank compound E best, then compound B and then exisulind.                                    that the compound has potential for treating neoplasia.
                                                                                          5. A method of selecting a compound potentially useful
                                                                                       for treating of neoplasia, comprising
                                 TABLE 8
                                                                                  50      determining neoplastic cell growth inhibitory activity of
                     Activitv Profile of Various ComEounds                                   the compound;
                                                             Mammary                      determining cGMP-specific PDE inhibition activity of the
                        COX      PDE5 Growth                 Gland                           compound against cGMP-specific PDE enzymatic
                        In-      In-      In-                Organ                           activity from adenocarcinoma cells; and
Compound                hibition hibition hibition Apoptosis Culture              55
                                                                                          selecting a compound that exhibits growth inhibitory
Exisulind                        ++         ++      ++              +++                      activity and said cGMP-specific enzyme inhibitory
Sulindac sulfide        ++++     +++        +++     +++                                      activity.
MY5445                  ++++     +++        +++     +++             +                     6. The method of claim 5, further comprising
A                                           +++     ++              ++
B                                +++        +++     +++             ++                    determining whether the compound induces apoptosis in
                                                                                  60
D                                           ++                                               a cell; and
E                                ++++       ++++    ++++            ++++
                                                                                          selecting a compound that induce apoptosis.
F                                           ++      +
G                                           +++     ++              +++                   7. The method of claim 6, further comprising:
H                                           ++                                            determining the COX inhibitory activity of the com-
                                                                                  65         pound; and
Table 8 Code: Activity of compounds based on evaluating a series         of
experiments involving tests for maximal activity and potency.                             selecting a compound with low COX inhibitory activity
                                                                                             relative to said PDE-inhibitory activity.
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                             19                                                                20
   8. The method of claim 7, wherein the COX inhibitory             11. The method of claim 10 further comprising determin-
activity of the compound is determined by:                       ing the growth inhibitory activity of the compounds; and
   contacting the compound with a cyclooxygenase; and            identifying those compounds with phosphodiesterase inhibi-
   measuring the change, if any, of cyclooxygenase activity;     tory activity substantially greater than COX inhibitory activ-
                                                               5
   wherein a decrease in cyclooxygenase activity correlates      ity at concentrations exhibiting substantial growth inhibitory
      to a decrease in prostaglandin synthetase activity.        activity.
   9. The method of claims 7, wherein the COX inhibitory            12. The method of claim 11 wherein the growth inhibitory
activity of the compound is determined by:                       activity is determined by the reduction of the number of cells
   contacting the compound with a cell which secretes 10 in a sample.
      PGE-2; and                                                    13. The method of claim 11 wherein the growth inhibitory
   measuring the decrease, if any, of the PGE-2 secretion        activity is determined by inducing apoptosis in a sample.
      from the cell;                                                14. A method for identifying a compound with potential
  wherein a decrease in PGE-2 secretion correlates to a          for treating neoplasia, comprising:
      decrease in prostaglandin syntbetase activity.          15
                                                                    selecting a compound with cGMP-specific PDE inhibiting
   10. A method for identifying a compound potentially
                                                                       activity
useful for administering lo patients in need of treatment for
neoplasia, comprising the steps of:                                 evaluating neoplastic cell growth inhibiting activity of the
  determining the COX inhibitory activity of the com-                  compound; and
                                                              20    identifying the compound that exhibits cGMP-specific
      pound;
  determining the cGMP-specific PDE inhibition activity of             PDE inhibiting activity and neoplastic cell growth
      the compound; and                                                inhibiting activity wherein said compound bas the
  identifying those compounds for potential use in treating            potential to inhibit neoplasia without substantially
      neoplasia in patients in need thereof if the compounds 25        inhibiting the growth of normal cells.
      exhibit PDE inhibition activity and have COX inhibi-
      tory activity lower that said PDE inhibition activity.                             * * * * *
